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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,            )
                          Plaintiff, )
                                     )
      vs.                            )                        Case No. 13-40070-01-JAR
                                     )
SCOTT C. DEPPISH,                    )
                         Defendant. )
__________________________________ )

                              MOTION TO SUPPRESS
                          YAHOO EMAIL SEARCH WARRANT

       COMES NOW Scott Deppish to ask the Court to exclude from trial any evidence or

information derived from the warrant served on the service provider Yahoo, in connection with

an email address attributed to Mr. Deppish. The warrant asked for a wide array of information,

including email contents, contact lists, credit and bank account information, and, generally, files.

Mr. Deppish had a reasonable expectation of privacy in this information, and the warrant failed

the particularity requirement of the Fourth Amendment and lacked probable cause to search that

account. Further, Mr. Deppish is entitled to a Franks v. Delaware hearing based on the content

of the affidavit.

I. Introduction: District of Kansas case law

       The warrant in this case closely parallels, both in breadth and structure, those in District

of Kansas cases In re: Application for Search Warrants for Case nos. 12-MJ-8119-DJW, et.seq, 2012 WL

4383917 (D.Kan. 2012), Waxse, J. (hereinafter, Application I); In re: Application for Search Warrants

For information Associated with Target Email Accounts/Skype Accounts, 2013 WL 4647554 (D.Kan.

Aug. 27, 2013), Waxse, J. (hereinafter Application II); and United States v. Barthelman, Case No. 13-
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10016-MLB, 2013 WL 3946084 (D. Kan. 2013), Belot, J. In each case, as here, the warrant

violated the Fourth Amendment.

       Mr. Deppish’s particular challenge tracks Judge Waxse’s analyses, and reaches the same

conclusion. While Judge Waxse’s opinions follow refusals to grant warrant applications, Judge

Belot addresses a challenge to the warrant, post-execution, the same posture that Mr. Deppish

holds. Turning away other challenges, Judge Belot, in line with Judge Waxse’s analyses, found

the warrant overbroad and “not as particular as the Fourth Amendment requires.”1

II. Relevant Facts and Procedural History

       The affiant in this case was familiar with a photo sharing site, imgsrc.ru, a legitimate

image sharing cite but also one popular amongst those trading child pornography images.

Particular to this case, two photo albums were discovered on that website, posted on a Russian

image board. One album was password protected and did not contain any child pornography.

The other album contained only four images, described as “9 y/o/ granddaughter sleeping.”

Russian officials tagged the information, the associated email account and the access log files.

Those were forwarded to Homeland Security in Fairfax, Virginia.

       According to Homeland Security reports, a user self designated as “Dirtyoldman71"

created an account on imgsrc.ru, and then created the two albums in that account. There is no

allegation that these images were ever e-mailed. The connection between the images posted by

Dirtyoldman71 and the e-mail subject to the Yahoo warrant was first alleged by Russian law




       1
        Barthelman, at *11.

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enforcement,        to-wit:    “the   email    account     registered    by    Dirtyoldman71    is

pigbreeder1971@yahoo.com.”2

       A subpoena, not a warrant, was sent to Yahoo for subscriber information and IP history.

Scott Deppish was identified as the registered owner of the email account. The same IP

addresses were used to log into the imgsrc account.

       A. The Scope of the Warrant

       Based on this, the Government applied to the federal magistrate for a warrant to Yahoo

for all information associated with the email address, pigbreeder1971@yahoo.com.3              The

“Particular Things to be Seized,” attached to the warrant application as Exhibit B, is broad and

detailed, and not subject to synopsis for the purpose of this motion:

               a. The contents of all e-mails associated with the account, including stored
       or preserved copies of e-mails sent to and from the account, draft e-mails, the
       source and destination addresses associated with each e-mail, the date and time
       at which each e-mail was sent, and the size and length of each e-mail;
               b. All records or other information regarding the identification of the
       account, to include full name, physical address, telephone numbers and other
       identifiers, records of session times and durations, the date on which the account
       was created, the length of service, the types of service utilized, the IP address
       used to register the account, log-in IP addresses associated with session times and
       dates, account status, alternative e-mail addresses provided during registration,
       methods of connecting, log files, and means and source of payment (including
       any credit or bank account number);




       2
       Dept Homeland Security Report, Agent Kanatzar, Topic: Execution of Search Warrant on
Email Address, at pg 2, attached as Exhibit 406.
       3
           Search Warrant Affidavit Attachment A, attached to this motion as Exhibit 403.

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               c. All records or other information stored at any time by an individual
       using the account, including address books, contact and buddy lists, calendar data,
       pictures, and files;
               d. All records pertaining to communications between Yahoo! Inc. and any
       person regarding the account, including contacts with support services and
       records of actions taken.

That is the information that Yahoo disclosed to the government.4 After reviewing all of this

information, the government was authorized to “seize” essentially the same data, if it constituted

evidence of child exploitation. This included:

               a. . . . data tending to show the user of the account, including but not
       limited to subscriber information, IP logs, address books, friend-lists or
       buddy-lists, headers, salutations, and email content referencing the user or other
       identifier information such as credit card numbers, phone numbers or physical
       addresses; content that is child pornography or indicative of an interest in the
       sexual exploitation of children, including but not limited to images of child
       pornography, images of child erotica, communications about child pornography
       or the possession, receipt, distribution or production of such materials or the
       sexual exploitation of children, communications about literature or writings
       related to the sexual exploitation of children.
               b. Records relating to who created, used, or communicated with the
       account or identifier, including records about their identities and whereabouts.

       B. The Probable Cause for the Warrant

       The images of concern at this juncture were in the album entitled “9 yo granddaughter

sleeping.” Those images were described, but apparently not shown to the magistrate. The

description:



       4
           Return, attached as Exhibit 405.

                                                 -4-
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       Your affiant has reviewed the image files titled "IMG_0027.jpg,” "IMG _
       0028.jpg" and both images depict the same girl, approximately nine to ten years
       old, asleep in what appears to be a bed. The girl is facing away from the camera
       and has no shirt on and is under a peach-colored bed sheet that comes up to the
       girl's bare shoulder. These two images are considered to be child erotica. Your
       affiant has also reviewed the image files titled "IMG_0031.jpg" and
       "IMG_0032.jpg" and both images depicts the same girl, approximately nine to ten
       years old, and the girl appears to be asleep in a bed, lying face down. The girl's
       face is not visible in either image. In both images, the girl is wearing a black shirt
       and blue panties and is lying on peach-colored bed sheets. In both images, the
       bed sheets are pulled down to the girl's knees, and one of her hands is placed
       between her legs. Both images appear to be taken at the foot of the bed and the
       focus of the camera is on the girl's genital area. Your affiant believes these two
       image files meet the criteria of child pornography as defined in 18 U.S.C. § 2256.

So, within these images, the girl is asleep and fully clothed, untouched and no one else is in the

photograph. Nothing is being done to the clothed, sleeping child. The photographs are not

inherently sexual or pornographic. The suggestion that her hand was placed between her legs

is misleading – that appears to be her natural position, not one arranged by someone else.

       The images that are the focus of the warrant affidavit were not emailed. The agents already

knew the identity of the person registering that email with the provider, so the warrant was not

for identification purposes. Comments were posted at the site, but no allegations that the

account holder used or responded, by email or otherwise.

       Moreover, the affiant alleges that the email pigbreeder1971@yahoo.com was a means for

users to contact dirtyoldman71. This suggests the email was readily available to anyone visiting

the site. In the affiant’s investigative report, however, that same email address is hidden:

“Dirtyoldman71 self-registered the IMGSRC account on November 11, 2011, linking the

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account to a hidden email address. Data provided by IMGSRC through Russian law

enforcement indicates that the email          account registered by Dirtyoldman71 is

pigbreeder197l@yahoo.com.”5 A URL of the profile is then provided, but defense counsel, ever

cautious, did not investigate further to determine whether the email was hidden or readily

available to other imgsrc users.

       C. The Fruit of the Warrant

       Yahoo complied with the warrant, and the government reviewed all of the information

provided, including the content of some 1028 email messages. None contained any child

pornography, but 84 were “related to the Russian website imgsrc.ru,” with the majority asking

Dirtyoldman71 for a password. Six were offering passwords to other accounts. The agent

accessed some of those accounts, and none contained any child pornography. Two other photo

albums were locked by the website for “inappropriate material.”6

       The fruit of the warrant establishes the connection between Scott Deppish and the email

pigbreeder1971@yahoo.com, and it was associated with the account holder who allegedly posted

the questionable four images on imgsrc.ru. Mr. Deppish seeks to exclude that information, and

any information subsequently developed, from that source.




       5
       Dept Homeland Security Report, Topic: Execution of Search Warrant on Email Address,
Agent Kanatzar, 11.29.12, at pg. 2.
       6
       Dept Homeland Security Report, Topic: Examination of Email for Child Porn, Agent
Kanatzar, 2.12.13, at pg. 3.

                                             -6-
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III. Mr. Deppish had an Expectation of Privacy in the Electronic Material Held by the
      Service Provider Yahoo.

        The Fourth Amendment protects against unreasonable government invasion of private

“houses, papers, and effects.” Any warrant for search and seizure of privately held property or

places must “particularly describ[e] the place to be searched and the persons or things to be

seized.”7 To garner the protection of the Fourth Amendment, there must be both a subjective

and objective expectation of privacy in the thing to be searched.

        Here, the thing to be searched is stored electronic information – not just email source and

destination, but the content; draft emails, those which are written and stored on a personal

computer but not sent; financial information, including means and source of payments, including

credit and bank account numbers, and contact lists, calendar data, and the general category of

“files.”8

        In Application I, which appears to be a matter of first impression, Judge Waxse carefully

analyzes the expectation of privacy in email and related communication and determines that it

is subject to the Fourth Amendment warrant requirement. Although the United States Supreme

Court has not addressed the issue directly, Judge Waxse considered City of Ontario, California v.

Quon,9 which assumed a reasonable expectation of privacy in text messages, then followed the

        7
         US Const. Amend. IV. The information sought also falls under the Stored Communications
Act, 18 U.S.C. §2701, et. seq., which requires, generally, compliance with statutory warrant
requirements, here, Fed. R. Crim. Pro. 41. Mr. Deppish’s argument, for the purpose of this motion,
is a constitutional rather than statutory challenge. Compliance with statutory provisions may still
violate the Fourth Amendment.
        8
            Affidavit, Exhibit B, attached here as Exhibit 404.
        9
         – US –, 130 S.Ct. 2619, 2630 (2010)(assuming that an employee had a reasonable
expectation of privacy in text messages sent and rec’d on gov’t owned pager).

                                                     -7-
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Sixth Circuit’s reasoning in United States v. Warshak.10 The Court concluded that there was a

reasonable expectation of privacy in the stored communications held by service providers.11

Accordingly, the Fourth Amendment requires that the warrant be based on probable cause, meet

particularity requirements, be reasonable in nature of breadth, and be supported by affidavit.12

The same Court reached the same conclusion this year with regard to a similar application,

Application II, as did Judge Belot in United States v. Barthelman.13

IV. Particularity

        It is beyond dispute that the government sought everything Yahoo had related to that

email account. The affiant admits as much in the affidavit: “Your affiant seeks the contents of

the entire account, as preserved by Yahoo upon receipt of the preservation letter [of October

22, 2012], and as the account in its current state, as found by Yahoo upon receipt of the search

warrant.”14

        This is a general warrant. General warrants lack the particularity prescribed by the express

language of the Fourth Amendment. General warrants are unconstitutional.15 “The Fourth

Amendment requires that the government describe the items to be seized with as much


        10
             631 F.3d 266, 282-88 (6th Cir. 2010)
        11
             Application I, at *5.
        12
             Id.
        13
             Application II, at *4.
        14
             Affidavit at 11.
        15
         Maryland v. Garrison, 480 US 79 (1987); United States v. Galpin, 720 F.3d 436, 445 (2d Cir.
2013)(in a child pornography case, holding that a warrant to search for electronic equipment for
violations of state or federal law was a general warrant, and therefore unconstitutional.)

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specificity as the government’s knowledge and circumstances allow, and warrants are

conclusively invalidated by their substantial failure to specify as nearly as possible the

distinguishing characteristics of the goods to be seized.”16 Such descriptive particularity is absent

here, by design according to the affiant.

        Returning to the opinions authored by Judge Waxse and Judge Belot, the law applied to

similar, if not indistinguishable, facts has the same result. Broad warrants to the service provider

for all information associated with an email account simply lack particularity required by the

Fourth Amendment.17 While this is more difficult in the “digital realm18,” the Fourth

Amendment still requires particularity. In fact, such warrants deserve even closer attention,

because of the capacity for so much information to be stored in one space. 19 By the terms of

the warrant, nothing should be left to the searching officer’s discretion. 20

        United States v. Carey applied the particularity requirement to a computer search,21 noting

that electronic storage contains greater quantity and different quality of information than

        16
             United State v. Leary, 846 F.2d 592, 600 (10th Cir. 1988).
        17
          United States v. Barthelman, at *11 (“the court finds that the warrants were overbroad and not
as particular as the Fourth Amendment requires.”).
        18
             Application II, at *4.
        19
           United States v. Otero, 563 F.3d 1127, 1132 (10th Cir. 2009) (“The modern development of
the personal computer and its ability to store and intermingle a huge array of one's personal papers
in a single place increases law enforcement's ability to conduct a wide-ranging search into a person's
private affairs, and accordingly makes the particularity requirement that much more important.
Because of this, our case law requires that “warrants for computer searches must affirmatively limit
the search to evidence of specific federal crimes or specific types of material.”); Application II, at *6.
        20
             Id.

        Id.; United States v. Carey, 172 F.3d 1268, 1275 (10th Cir. 1999); see United States v. Otero, at
        21

1132(warrant authorizing search of a computer set no affirmative limitations).

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previous storage methods, like, say, a filing cabinet. From this principle, Judge Waxse undertook

the task of applying the particularity requirement to email accounts held by service providers.

The Court concluded that the warrant – substantially the same as the one here – was

unconstitutional.22 The request for the provider to disclose “all email communications in their

entirety and all information about the account without restriction” was simply too broad and too

general. And “[m]ost troubling is that these sections of the warrants fail to limit the universe of

electronic communications and information to be turned over to the government to the specific

crimes being investigated,”23 as is the case here.

        Further, the failure to limit the government’s review of the entire sphere of electronic

information, without “any sorting or filtering procedures for electronic communications and

information that are not relevant and do not fall within the scope of the government's probable

cause statement” would render the warrant in that case unconstitutional.24 Thus, the Court

refused to sign warrants, both in the September 2012 and April 2013 applications. Judge Belot

came to the same conclusion in United States v. Barthelman.

        The same defect renders this warrant unconstitutional. The complete absence of any

limitations on information provided is fatal to the particularity requirement. The evidence and

information derived from that warrant must be excluded from trial.




        22
         Application I, at *8-9. “As to the current pending applications, the Court finds that the
warrants proposed by the government violate the Fourth Amendment.”; Application II, at *7-8.
        23
          Application I, id.
        24
          Id.

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V. Lack of Probable Cause

       A warrant must be supported by probable cause to believe that evidence of a crime will

be found in the place to be searched.25 That is, the affidavit must have sufficient fact to allow

a prudent person, within the totality of the circumstances, to believe that there is a fair

probability that evidence of the crime will be found in the place to be searched.26 This warrant

fails on both probable cause to believe that evidence of a crime would be found, and on the

nexus requirement – that the evidence would be found in the place to be searched, the Yahoo

email account.

       A. Evidence of a Crime

       The images described in the affidavit are not child pornography and do not depict

sexually explicit conduct, despite the affiant’s assertion. These images are not inherently sexual

in nature, even by the affiant’s description. A clothed or covered sleeping child, with no one else

in the photo and nothing being done to the child, does not violate the statute. The definitional

statute referenced in the affidavit provides that “‘child pornography’ means any visual depiction,

including any photograph, film, video, picture, or computer or computer-generated image or

picture, whether made or produced by electronic, mechanical, or other means, of sexually

explicit conduct, where – (A) the production of such visual depiction involves the use of a minor

engaging in sexually explicit conduct . . . ”27 “Sexually explicit conduct is defined in subsection



       25
            Illinois v. Gates, 462 US 213, 238 (1983).

       26
            United States v. Basham, 268 F.3d 1199, 1203 (10th Cir. 2001).
       27
            18 U.S.C. §2256(8)(A).

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(2) as “(i) sexual intercourse, including genital-genital, oral-genital, anal-genital, or oral-anal,

whether between persons of the same or opposite sex; (ii) bestiality; (iii) masturbation; (iv)

sadistic or masochistic abuse; or (v) lascivious exhibition of the genitals or pubic area of any

person.”

        The described images do not qualify. That the images drew lascivious comments does

not establish probable cause, especially without any information that the account holder

responded in any way. Likewise, the affiant’s assertion that the images are illegal cannot support

probable cause: “It has long been established that a warrant must be supported by facts

demonstrating probable cause, not by police summaries of what they have concluded from such

facts.”28

        Without child pornography, there is little left in the application to justify a warrant.29

There is no allegation that the email was used to exchange images; no information that any of

the comments posted to the imgsrc site were responded to; the other set of images were not

child pornography, either. That non-criminal conduct may be connected to that email address

is not probable cause to believe a crime was committed.




        28
          United States v. Roach, 582 F.3d 1192, 1203 (10th Cir. 2009), citing Illinois v. Gates, 462 U.S.
213, 239, 103 S.Ct. 2317, 76 L.Ed.2d 527 (1983) (holding that "mere conclusory statement[s]"
cannot support probable cause).

         Cf., United States v. Riccardi, 405 F.3d 852, 860 (10th Cir. 2005)( affidavit for a warrant to
        29

seize computer to search for child pornography included that the defendant called teenage boys fo
his sexual gratification; he had a number of photographs of nude teenage boys; evidence that he had
photographs digitalized for a computer format; this satisfied probable cause).

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       B. The Place to be Searched - Nexus

       Here, the facts alleged in the affidavit hold that a user self designated as “Dirtyoldman71"

created an account on imgsrc.ru, and two albums in that account that included nude photos of

an adult woman and one that contained four images described above. There is no allegation that

these images were ever e-mailed, or information that the email account was actually used. The

only connection between the images posted by Dirtyoldman71 and the email

pigbreeder1971@yahoo.com was alleged by Russian law enforcement, to-wit: “the email account

registered by Dirtyoldman71 is pigbreeder1971@yahoo.com.”30

       While a number of comments were posted at the site, the affiant does not allege that any

were posted by the account holder or that there was any response at all. Nor is there any

evidence that the email account was ever used in association with this website or with any child

pornography whatsoever. And it is unclear whether the e-mail was published with the albums

as a way to contact the account holder, or ‘hidden’ as suggested by the Homeland Security

Report.

       Either way, the affidavit does not establish probable cause to believe that evidence of

child pornography would be found in the email account. There must be a nexus between the

place to be searched and criminality, that is, a “fair probability that . . . the evidence of a crime

[here, child pornography] will be found in the place searched [the Yahoo account].”31 Suspected

guilt of a crime, even a cyber-crime, does not automatically grant access to electronic media, just


       30
        Dept Homeland Security Report, Agent Kanatzar, Topic: Execution of Search Warrant on
Email Address, at pg 2.
       31
            Gates at 238.

                                                -13-
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as suspected guilt of drug crimes does not grant automatic access to one’s home.32 Here, that

nexus fails.

        Compare United States v. Henderson33, a 2010 Tenth Circuit decision. There, a warrant was

issued to search the defendant’s apartment. The affidavit alleged the affiant’s professional

background; “the general protocol investigating officers use to identify distributors of child

pornography, including how officers usually determine that a computer at a given IP address has

transferred a video with a particular SHA value; and states that [the affiant] learned that a

computer with the relevant IP address had shared videos with child-pornography-related SHA

values.” The affidavit did not include information that a computer with that relevant IP address

had transferred child pornography, or that the investigative methods used in that case established

that a computer at a specified address transferred child pornography.”34 This did not, as the

parties and Court agreed, establish probable cause.

        The same, or worse, deficiencies attend here. There was no information that the images

were transferred by email from that address.35 That is fatal to probable cause, even if the images

did qualify as child pornography.




        32
         United States v. Roach, at 1202 (“Probable cause to search a person's residence does not arise
based solely upon probable cause that the person is guilty of a crime. Instead, there must be
additional evidence linking the person's home to the suspected criminal activity.”).
        33
             595 F.3d 1198 (10th Cir. 2010).
        34
             Id., at 1200.
        35
          United States v. Barajas, 710 F.3d 1102, 1110 (10th Cir. 2013)(“[W]e must ask whether the
affidavit as a whole establishes a minimally sufficient nexus between the illegal activity and the place
to be searched.”).

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VI. Fran ks v . De law are

        The content of this affidavit raise questions about the accuracy of the facts, as well as

whether some omissions of material facts were material. “A search warrant must be voided and

the fruits of the search suppressed where a court (1) finds that the affiant knowingly or recklessly

included false statements in or omitted material information from an affidavit in support of a

search warrant and (2) concludes, after excising such false statements and considering such

material omissions, that the corrected affidavit does not support a finding of probable cause.”36

A showing of falsity, by misleading information or by omission, entitles the defendant to a

Franks hearing.37 The defendant must show by a preponderance of the evidence that the

affidavit included false information, or excluded exculpatory information;38 then that, without

the false information or with the omitted exculpatory information, that the affidavit lacked

probable cause.39

        To win an evidentiary hearing, the defendant must demonstrate these challenged

deficiencies, accompanied by an offer of proof.40 Here, Mr. Deppish attaches the warrant

affidavit as well as the agent’s report as his offer of proof. Additionally, to the extent that Judge

Waxse’s 2012 opinion factors in, it is also cited as an offer of proof.


         United States v. Garcia-Zambrano, 530 F.3d 1249, 1254 (10th Cir. 2008), citing, Franks v.
        36

Delaware, 438 U.S. 154, 155–56(1978).

        37
             Id. at 1254.
        38
             United States v. Tisdale, 248 F.3d 964, 973 (10th Cir. 2001).
        39
             United States v. Troxel, 564 F.Supp.2d 1235, 1244 (D. Kan. 2008).
        40
             Id. at 1244, n. 3.

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        First is the affiant’s claim that the images qualified as child pornography under the federal

statute. “Assertions can be made with reckless disregard for the truth even if they involve minor

details – recklessness is determined not by the relevance of the information, but by the

demonstration of willingness to affirmatively distort th truth.”41 Reckless disregard for the truth

occurs when the affiant either would have had serious doubts about the truth of the statement

or had obvious reasons to doubt the accuracy of the assertion.42

        While the affiant, an experienced and trained federal child pornography investigator,43

asserted that the images met the federal statutory definition of child pornography, they do not.

The affiant had actually viewed the images, whereas they were not presented to the issuing

magistrate. The statutory definition was not included in the affidavit for direct comparison.

        This assertion was materially misleading, if not wrong. The images are not sexually

explicit by the affiant’s own description – that is, portraying “(i) sexual intercourse, including

genital-genital, oral-genital, anal-genital, or oral-anal, whether between persons of the same or

opposite sex; (ii) bestiality; (iii) masturbation; (iv) sadistic or masochistic abuse; or (v) lascivious

exhibition of the genitals or pubic area of any person,” as required by 18 U.S.C. §2256. This is

either false, or made with reckless disregard of the truthfulness. A magistrate who relied on the

affiant’s conclusion relied on a false statement.




       41
            Wilson v. Russo, 212 F.3d 781 (3d Cir. 2000).
        42
            See United States v. Clapp, 46 F.3d 795, 800 and n.6 (8th Cir. 1995).
        43
            See Affidavit, attached as Exhibit 402.

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       This is critical to the probable cause determination, because the warrant sought evidence

of child pornography. This cannot be excused as an innocent mistake by the Homeland Security

officer who is a trained and experienced computer child pornography investigator.44

       Second, this affidavit was submitted after Judge Waxe’s opinion in Application I. Counsel

believes that the United States Attorney’s Office requested a written opinion from the

magistrate. The issue here is whether Judge Sebelius should have been advised, within the

affidavit or as part of the warrant application process, of a contrary decision within the District.

An affidavit may be false by omission,45 and thus entitled to a Franks hearing. This was

“omit[ted] material information that would alter the magistrate’s probable cause

determination,”46 or, as here, determination of particularity.

       That information is both a factual and legal – as a fact, an existing and contrary opinion

existed in the district and another magistrate had refused to sign a similar warrant. The affidavit

included other legal references and opinions – particularly, that the images met the statutory

definition of child pornography. The inclusion of legal references in other areas suggests that the

affidavit should have included contrary case law that undermined the showing of particularity

in this case. The offer of proof is the existence of Judge Waxse’s opinion at the time the affidavit

was submitted, and the affidavit’s failure to reference the opinion.47

       44
         Troxel, at 1247 (the number of false statements and omissions indicates recklessness, and
not an innocent mistake).
       45
            United States v. Tisdale, 248 F.3d 964, 973 (10th Cir. 2001).
       46
            Id.
       47
        This also causes curiosity about forum shopping - Judge Waxse’s opinion on Application I
makes clear that he would not have signed the warrant.

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       Third     is   the    apparent     inconsistency    regarding   the    function    of   the

pigbreeder1971@yahoo.com on the imgsrc.ru site. The affidavit represents that the email was,

essentially, an invitation for communication between the account holder and those visiting the

site. Homeland Security reports from the same source, however, refer to the email as hidden and

provided through foreign investigative efforts: “Dirtyoldman71 self-registered the IMGSRC

account on November 11, 2011, linking the account to a hidden email address. Data provided

by IMGSRC through Russian law enforcement indicates that the email account registered by

Dirtyoldman71 is pigbreeder197l@yahoo.com.”48 If it was hidden, then it was not advertised

as a means of communication. The site allowed comments to be posted, as noted in the affidavit.

The fruit of the warrant shows that emails were sent to the email from site visitors, but it is

unclear how that email was accessed and if was intended to promote child pornography.

VII. Le o n Cannot Rescue this Warrant

       When a warrant has been signed by a magistrate, the executing officers are entitled to rely

on that warrant in good faith. Defects in the warrant may not, generally, invalidate service of the

warrant if the officers acted in good faith. This, according to the Supreme Court, accommodates

the purpose of the exclusionary rule.49

       Good faith, however, is an objective standard. The Leon Court recognized the good-faith

doctrine, but contemporaneously drew exceptions to that doctrine: good faith will not save a




       48
       Dept Homeland Security Report, Topic: Execution of Search Warrant on Email Address,
Agent Kanatzar, 11.29.12, at pg. 2, attached as Exhibit 406.
       49
         United States v. Leon, 468 US 897 (1984).

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warrant based on false information50; where the issuing magistrate abandoned the judicial role

in reviewing the warrant; where the affidavit is so lacking in probable cause that good faith in

the warrant is simply not possible; and, finally, “depending on the circumstances of the particular

case, a warrant may be so facially deficient – i.e., in failing to particularize the place to be

searched or the things to be seized – that the executing officers cannot reasonably presume it

to be valid.”51 The government bears the burden or proving whether a deficient warrant can be

saved by Leon’s good-faith doctrine.52

        Here, both the first and last exceptions may apply. If the Court finds that the affidavit

contained false information – intentional, reckless, or by omission – Leon will not save the

warrant.53

        Second, alternatively, this last exception should be considered. Clearly, the warrant

seeking all information held by the service provider is lacking in particularity. And the affiant is

also the executing officer, so there is no gap in knowledge. Mr. Deppish argues that the affidavit

and warrant are so facially deficient in this respect that, objectively, a reasonable officer could

not presume its validity.




        50
         See United States v. Barthelman, at *4. (Court found parts of the affidavit were not credible
and refused to save the warrant by Leon).
        51
             Leon, at 923.
        52
             Roach, at 1204.
        53
             United States v. Barthelman, at *4.; United States v. Troxel, 564 F.Supp.2d at 1251.


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       But there is the added twist of Application I. As reviewed above, in this district, prior to

this warrant54, a magistrate judge had rejected this sort of warrant – the same warrant in terms

of structure and information sought – prior to the application in this case. Aside from the

Franks issue, in terms of a reasonable officer’s reliance on this warrant, there are questions about

whether a reasonable officer would have been aware, or should have known of, the existing and

contrary opinion; whether the prosecution assisted in the application and was aware; whether

the issuing magistrate was so informed outside the affidavit; and whether there was a deliberate

decision to present the warrant to a magistrate other than Judge Waxse. The answers should bear

on whether the warrant is to be saved based on good faith, because culpability and knowledge

are factors in Leon’s objective reasonableness standard,

       The pertinent analysis of deterrence and culpability is objective, not an inquiry
       into the subjective awareness of arresting officers . . . We have already held that
       our good-faith inquiry is confined to the objectively ascertainable question
       whether a reasonably well trained officer would have known that the search was
       illegal in light of all of the circumstances. These circumstances frequently include
       a particular officer's knowledge and experience, but that does not make the test
       any more subjective than the one for probable cause, which looks to an officer's
       knowledge and experience, but not his subjective intent.55

       Thus, in this case, the definitive issue may be whether a reasonablely well-trained officer,

aware of the contrary case law in this district, could have in good faith relied a warrant of the



       54
         Judge Waxse’s initial written decision was issued September 12, 2012, (Application I), and
the warrant here was issued November 29, 2012.
       55
         Herring v. United States, 555 US 135, 145-46 (2009)(internal citations and quotations
omitted).

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same caliber and scope. “Indeed, law enforcement officials are presumed to have a reasonable

knowledge of the law, and we determine good faith in this context by considering whether a

reasonably well trained officer would have known that the search was illegal despite the

magistrate's authorization.”56 This Court should find that a reasonable officer could have

presented the warrant to be valid, especially after Application I, and Leon will not save the warrant.

VIII. Conclusion

       WHEREFORE, Mr. Deppish asks this Court to follow case law of this district to find

that the warrant was not sufficiently particular to satisfy the Fourth Amendment; that the

affidavit failed to establish probable cause to believe evidence of the suspected crime would be

found in the email account; or that sufficient questions exist to grant an evidentiary hearing

pursuant to Franks v. Delaware. And, finally, that Leon does not save this flawed warrant. The

evidence and information derived from the warrant should be excluded from trial.

                                       Respectfully submitted,

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       56
         Roach, at 1204.

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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 8, 2013, I electronically filed the foregoing with the clerk
of the court by using the CM/ECF system which will send a notice of electronic filing to the
following:

       Christine E. Kenney
       Assistant United States Attorney
       Christine.Kenney@usdoj.gov


                                              s/ Melody Evans




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